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July 30, 2008

Bryan J. McCormack Jahmal T. Davis

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San Francisco, CA 94104 425 Market Street, 26th Floor

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Re: Mediation of szdiwala v. Patel
U.S. District Court Case No. 08-01436 JSW MED

Dear Counsel:
Pursuant to our telephone conference of today, the following dates have been agreed upon:

Mediation - August 28, 2008; 9:30 a.m. at 560 Mission Street, Suite 3100
Parties’ Mediation Statements are due August 25, 2008 by 5:00 p.m.

You may submit the briefs to rne by e-mail at the e-rnail address indicated above. l may call
each of you after reading the briefs to request additional information Please exchange your briefs,
and send me any confidential information that you want me to have by separate e~rnail.

Very truly yours
SEY§ART SHAW LLP
v w,, f**___`~~"__-W_.,,,,

Gilmore F. Diekmann, Jr.

 

GFD:mh

cc: /\lice l?`ielt'/@,zcaitrl.uscourts.gov (via e-mail)

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